                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF TENNESSEE

                                      NASHVILLE DIVISION

ST. CLAIR COUNTY EMPLOYEES’               )             Civil Action No. 3:18-cv-00988
RETIREMENT SYSTEM, Individually and on )
Behalf of All Others Similarly Situated,  )             CLASS ACTION
                                          )
                              Plaintiff,  )             District Judge William L. Campbell, Jr.
                                          )             Magistrate Judge Alistair E. Newbern
        vs.                               )
                                          )             PLAINTIFF’S OPPOSITION TO
ACADIA HEALTHCARE COMPANY, INC., )                      DEFENDANTS’ MOTION FOR LEAVE TO
et al.,                                   )             FILE A SUR-REPLY OR, IN THE
                                          )             ALTERNATIVE, PLAINTIFFS’ MOTION
                              Defendants.               FOR LEAVE TO FILE RESPONSE TO SUR-
                                          )
                                          )             REPLY




         Defendants’ Motion for Leave to File a Sur-Reply (ECF 141) (the “Motion”) does not

accurately set forth the parties’ respective burdens with respect to class certification and wholly fails

to demonstrate any need to file a sur-reply in further opposition to Plaintiffs’ motion for class

certification (ECF 112) (“Motion to Certify”). ECFs 140-141. Indeed, Defendants have provided no

basis whatsoever to further delay these proceedings with an unnecessary sur-reply and rebuttal

expert report that seek to only repeat the same arguments presented in Defendants’ Opposition to

Plaintiffs’ Motion to Certify.

         First, to the extent Plaintiffs’ reply introduces what Defendants characterize as “new

evidence,” Motion at 1, it was solely and appropriately introduced to rebut the evidence put forth for

the first time by Defendants in their opposition. In moving for class certification, Plaintiffs’ burden

is to demonstrate that common issues predominate, including with respect to reliance. ECF 113.

Plaintiffs did so in their Motion to Certify by providing an expert report demonstrating that Acadia



                                                  -1-
4870-6116-9950.v1
   Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 1 of 9 PageID #: 4542
stock traded in an efficient market, which is sufficient to invoke the presumption of reliance under

Basic Inc. v. Levinson, 485 U.S. 224 (1988). ECF 113 at 13-18. Defendants conceded that Plaintiffs

had adequately invoked the Basic presumption, but attempted to rebut the presumption by showing

an absence of price impact with respect to the alleged fraud. ECF 120 at 2-3, 8-20. Realizing they

have not done so, Defendants now seek to file a sur-reply.

         Notably, Plaintiffs were not required to present any evidence of price impact in their Motion

to Certify.1 Burges v. BancorpSouth, Inc., 2017 WL 2772122, at *9 (M.D. Tenn. June 26, 2017)

(“Plaintiffs are not required to present direct evidence to prove price impact in order to rely on the

fraud-on-the-market presumption.”). Rather, it was Defendants who had the burden of proving the

lack of price impact, which they attempted to do in their opposition by presenting extensive legal

analysis and argument, including an expert report purporting to “conclusively” demonstrate that

when the truth was revealed, it did not impact Acadia’s stock price. ECF 120 at 10.

         On reply, Plaintiffs demonstrate the inadequacy of Defendants’ showing, including by

providing evidence and an expert report to rebut Defendants’ arguments. ECF 133 at 9-20; ECF 134-

1. There was nothing improper in doing so, nor does Plaintiffs’ rebuttal provide grounds for a sur-

reply, much less an attempt to submit new briefing, including another expert report.

         Reply briefs are intended to reply to arguments made in the opposing party’s response brief.

Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th Cir. 2008). Evidence included in a reply brief

that is used to rebut statements made in a response brief is “not ‘new evidence or arguments’ and

[does not warrant] a sur-reply brief.” Benison v. Ross, 2013 U.S. Dist. Lexis 136268, at *2 (E.D.

Mich. Sept. 24, 2013); see also Peters v. Lincoln Elec. Co., 285 F.3d 456, 476 (6th Cir. 2002)




1
    All citations are omitted unless otherwise noted.


                                                 -2-
4870-6116-9950.v1
    Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 2 of 9 PageID #: 4543
(“reply affidavits that respond only to the opposing party’s brief are properly filed with the reply

brief”).

           Defendants’ cited cases do not counsel against a different conclusion and are utterly

inapposite. Both Eng’g & Mfg. Servs., LLC v. Ashton, 387 F. App’x 575, 583 (6th Cir. 2010), and

First Tech. Cap., Inc. v. Banctec. Inc., 2017 WL 2734716, at *1-*2 (E.D. Ky. June 26, 2017),

involved summary judgment briefing under Federal Rule of Civil Procedure 56(c). Moreover, in

First Tech., the non-movant did not oppose the filing of the sur-reply and did not dispute that it had

“‘offer[ed] a completely new argument’” in its reply brief. 2017 WL 2734716, at *1-*2. Similarly

inapplicable is United States v. Florence, 2020 WL 5797987, at *1 (M.D. Tenn. Sept. 29, 2020),

which involved the United States’s motion for leave to file a sur-reply in response to a motion to

compel. And in In re Sadia, the sur-reply was allowed to respond to an opinion that was present in

the initial motion for class certification, but where new evidence had been provided in the reply brief

to support that same opinion. 269 F.R.D. 298, 318-19 (S.D.N.Y. 2010). No such circumstances

exist here.

           Plaintiffs’ reply briefing was appropriately devoted to rebutting Defendants’ assertion that

“the alleged misstatements and omissions regarding Acadia’s US operations did not have price

impact.” ECF 120 at 2. Plaintiffs did so by showing that: (1) Defendants concede that the Class

should be certified for an eight-month portion of the Class Period that relates to misstatements

concerning the financial performance of the Priory Group; and (2) Defendants have failed to meet

their burden to “prove that 100% of the price reactions on the alleged corrective disclosure dates

were caused by information entirely unrelated to Plaintiffs’ allegations.” ECF 133 at 9-20 (emphasis

omitted).




                                                   -3-
4870-6116-9950.v1
   Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 3 of 9 PageID #: 4544
         Further, while the Motion fleetingly refers to “new arguments and new evidence” (Motion at

1), Defendants do not identify what these new items actually are, nor do they even try to argue that

Plaintiffs’ reply was devoted to anything other than rebutting Defendants’ own assertions that they

had demonstrated, which they are required to do by a preponderance of the evidence, a lack of price

impact. Plaintiffs were not required to provide evidence of price impact in their Motion and could

not have responded to Defendants’ price impact arguments or their expert report before Defendants

filed them. Accordingly, Plaintiffs’ reply was appropriately limited to rebutting Defendants’ price

impact contentions, and a sur-reply is not warranted. Benison, 2013 U.S. Dist. LEXIS 136268, at *2.

         Defendants’ assertions to the contrary – that they should be “given the final word” – is thus a

red herring. Motion at 3. And the cases on which Defendants rely are easily distinguished. See

Siemens Mobility Inc. v. Westinghouse Air Brake Techs. Corp., 2019 WL 1040539, at *1 (D. Del.

Mar. 5, 2019) (where accused infringer in an “‘ensnarement inquiry’” had the same burden to prove

in both its opening and reply brief); United States v. Sorensen, 801 F.3d 1217, 1240-41 (10th Cir.

2015) (holding that though the government generally should proceed first and last in a tax evasion

case, the “court left open the possibility” for the defendant to have the final word “if it became

necessary”); Sandata Techs., Inc. v. Infocrossing, Inc., 2007 WL 4157163, at *8 (S.D.N.Y. Nov. 16,

2007) (noting that the party with the burden of proof should have the last word, but also taking into

account the “substantial prejudice” to the non-movant if the supplemental and second supplemental

reports were relied upon as reply reports were not contemplated by the court in its expert schedule).

         Defendants’ Motion for Leave to File a Sur-Reply should be denied. However, if the Court

is inclined to grant the Motion, Plaintiffs respectfully request that they be granted leave to respond to

Defendants’ sur-reply and expert report. Plaintiffs have attached their proposed response to

Defendants’ sur-reply and their expert’s response to Defendants’ expert rebuttal report as Exhibits 1



                                                  -4-
4870-6116-9950.v1
   Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 4 of 9 PageID #: 4545
and 2 to the Declaration of Christopher M. Wood, filed concurrently herewith. Plaintiffs’ response

to Defendants’ sur-reply is limited to five pages and Plaintiffs’ expert’s reply to Defendants’ expert

rebuttal report is limited to 12 pages, and both respond only to the new points made by Defendants

and their expert in their sur-reply submission.2

DATED: May 6, 2022                                 ROBBINS GELLER RUDMAN
                                                     & DOWD LLP
                                                   JERRY E. MARTIN, #20193
                                                   CHRISTOPHER M. WOOD, #032977


                                                            s/ CHRISTOPHER M. WOOD
                                                             CHRISTOPHER M. WOOD

                                                   414 Union Street, Suite 900
                                                   Nashville, TN 37219
                                                   Telephone: 615/244-2203
                                                   615/252-3798 (fax)
                                                   jmartin@rgrdlaw.com
                                                   cwood@rgrdlaw.com




2
     Granting Plaintiffs leave to file a sur-sur reply is supported by the securities cases Defendants
cite. See Order, In re Mattel, Inc. Sec. Litig., No. 19-CV-10860-MCS (PLAx) (C.D. Cal. Sept. 9,
2021), ECF 133 (granting the defendants’ ex parte application for leave to file sur-reply to address
evidence regarding price impact and granting plaintiffs leave to file a response to the sur-reply). The
remainder of the cases, where the courts’ order provided a detailed analysis of the parties’ positions,
are factually distinct. See, e.g., Order at 3, Grae v. Corr. Corp. of Am., et al., No. 3:16-cv-2267
(M.D. Tenn. Nov. 6, 2018), ECF 122, 132 (holding that the plaintiffs’ “submission of a lengthy new
[70-page] report in support of its Reply [was] an appropriate basis” for allowing the defendants leave
to file a sur-reply); Order at 1, In re Barrick Gold Sec. Litig., No. 1:13-cv-03851-RMB (S.D.N.Y.
Jan. 19, 2016), ECF 122 (granting the defendants leave to file a sur-reply where the plaintiffs made
“the strategic decision not to articulate a damages theory,” but where plaintiffs stated for the first
time in their reply brief that they were seeking “‘out-of-pocket’” damages); Order, Kasper v. AAC
Holdings, Inc., et al., No. 15-cv-00923-JPM (M.D. Tenn. Apr. 4, 2017), ECF 117 (where the court
ordered supplemental briefing from both parties on two discrete issues and held that replies or sur-
replies could only be made with leave of court); Minute Entry 3/9/22, Strougho v. Tivity Health, Inc.,
et al., No. 3:20-cv-00165 (M.D. Tenn. Mar. 9, 2022) (where the court ordered post-hearing briefs).


                                                   -5-
4870-6116-9950.v1
    Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 5 of 9 PageID #: 4546
                                      ROBBINS GELLER RUDMAN
                                         & DOWD LLP
                                      DARREN J. ROBBINS
                                      DARRYL J. ALVARADO
                                      J. MARCO JANOSKI GRAY
                                      TING H. LIU
                                      T. ALEX B. FOLKERTH
                                      655 West Broadway, Suite 1900
                                      San Diego, CA 92101
                                      Telephone: 619/231-1058
                                      619/231-7423 (fax)
                                      darrenr@rgrdlaw.com
                                      dalvarado@rgrdlaw.com
                                      mjanoski@rgrdlaw.com
                                      tliu@rgrdlaw.com
                                      afolkerth@rgrdlaw.com

                                      Lead Counsel for Plaintiffs

                                      DOWD, BLOCH, BENNETT, CERVONE,
                                         AUERBACH & YOKICH
                                      JUSTIN J. LANNOYE
                                      8 South Michigan Avenue, 19th Floor
                                      Chicago, IL 60603
                                      Telephone: 312/372-1361
                                      312/372-6599 (fax)
                                      jlannoye@laboradvocates.com

                                      Counsel for Chicago & Vicinity Laborers’
                                      District Council Pension Fund

                                      PITTA LLP
                                      MICHAEL BAUMAN
                                      120 Broadway, 28th Floor
                                      New York, NY 10271
                                      Telephone: 212/652-3890
                                      212/652-3891 (fax)
                                      mbauman@pittalaw.com

                                      Counsel for New York Hotel Trades Council &
                                      Hotel Association of New York City, Inc. Pension
                                      Fund




                                     -6-
4870-6116-9950.v1
   Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 6 of 9 PageID #: 4547
                                  CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on May 6, 2022, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the email addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

                                                   s/ CHRISTOPHER M. WOOD
                                                   CHRISTOPHER M. WOOD

                                                   ROBBINS GELLER RUDMAN
                                                          & DOWD LLP
                                                   414 Union Street, Suite 900
                                                   Nashville, TN 37219
                                                   Telephone: 615/244-2203
                                                   615/252-3798 (fax)


                                                   Email: cwood@rgrdlaw.com




4870-6116-9950.v1
   Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 7 of 9 PageID #: 4548
5/6/22, 4:49 PM                                                                 CM/ECF - DC V6.3.3(May 2020)-

Mailing Information for a Case 3:18-cv-00988 St. Clair County Employees' Retirement System v.
Acadia Healthcare Company, Inc. et al
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

      AMALGAMATED BANK, TRUSTEE
      PKNASHLAW@AOL.COM

      Darryl J. Alvarado
      dalvarado@rgrdlaw.com,e_file_sd@rgrdlaw.com

      BOSTON RETIREMENT SYSTEM
      PKNASHLAW@AOL.COM

      Michael Bauman
      mbauman@pittalaw.com

      Paul Kent Bramlett
      pknashlaw@aol.com

      Lisa R. Bugni
      lbugni@kslaw.com

      Thomas H. Burt
      burt@whafh.com

      Regina M. Calcaterra
      calcaterra@whafh.com

      Jessica Perry Corley
      jpcorley@kslaw.com

      Patrick Donovan
      donovan@whafh.com

      Timothy Alexander Benwa Folkerth
      afolkerth@rgrdlaw.com,e_file_sd@rgrdlaw.com

      Elizabeth O. Gonser
      egonser@rjfirm.com,nnguyen@rjfirm.com

      J. Marco Janoski Gray
      mjanoski@rgrdlaw.com,tdevries@rgrdlaw.com,e_file_sd@rgrdlaw.com

      Matthew M. Guiney
      guiney@whafh.com

      Brandon R. Keel
      bkeel@kslaw.com

      Justin J. Lannoye
      jlannoye@laboradvocates.com

      Ting H. Liu
      tliu@rgrdlaw.com,e_file_sd@rgrdlaw.com

      Jerry E. Martin
      jmartin@barrettjohnston.com,jkarsten@barrettjohnston.com,ealexander@barrettjohnston.com,jmartin@rgrdlaw.com

      Milton S. McGee , III
      tmcgee@rjfirm.com,EWard@kslaw.com,dgibby@rjfirm.com

      Thomas C. Michaud
      tmichaud@vmtlaw.com

      Danielle S. Myers
      danim@rgrdlaw.com,dmyers@ecf.courtdrive.com,e_file_sd@rgrdlaw.com

      PLYMOUTH COUNTY RETIREMENT ASSOC
      PKNASHLAW@AOL.COM

      Steven Allen Riley
      sriley@rjfirm.com,dgibby@rjfirm.com

      Ronni D. Solomon
      rsolomon@kslaw.com
                  Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 8 of 9 PageID #: 4549
https://ecf.tnmd.uscourts.gov/cgi-bin/MailList.pl?838489443478555-L_1_0-1                                           1/2
5/6/22, 4:49 PM                                                               CM/ECF - DC V6.3.3(May 2020)-
      David C. Walton
      davew@csgrr.com

      Christopher M. Wood
      cwood@rgrdlaw.com,agonzales@ecf.courtdrive.com,CWood@ecf.courtdrive.com,agonzales@rgrdlaw.coom,e_file_sd@rgrdlaw.com,kjohnson@rgrdlaw.com

Manual Notice List
The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing). You may wish to use
your mouse to select and copy this list into your word processing program in order to create notices or labels for these recipients.
   (No manual recipients)




                  Case 3:18-cv-00988 Document 146 Filed 05/06/22 Page 9 of 9 PageID #: 4550
https://ecf.tnmd.uscourts.gov/cgi-bin/MailList.pl?838489443478555-L_1_0-1                                                                                             2/2
